                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  At CHATTANOOGA

 UNITED STATES OF AMERICA                          )
                                                   )      Case No.1:17-cr-79
 v.                                                )
                                                   )      Judge Mattice
 JEREMY WOODS                                      )


                          ENDS OF JUSTICE SCHEDULING ORDER

       Defendant Jeremy Woods, by and through his counsel, has moved to continue the

 deadlines previously set in this matter. Defendant’s counsel requests additional time to

 prepare the defense, to communicate with Defendant, and to review the discovery. The

 Government does not oppose the motion.

       The Court finds that the ends of justice served by permitting this time outweigh the

 best interests of the Defendant and the public in a speedy trial because failure to grant

 such time would deny Defendant’s attorney the reasonable time necessary for effective

 preparation,    taking    into   consideration   the   attorney’s   due   diligence.   18

 U.S.C. § 3161(h)(8)(B)(iv).

       Accordingly, Defendant’s Unopposed Motion to Continue [Court Doc.16] is

 GRANTED, and the following new trial schedule is ORDERED for Defendant Jeremy

 Woods.

       1.       All motions shall be filed in this cause no later than Tuesday, March 20,

 2018. Any motion that requires the resolution of an issue of law must be accompanied

 by a supporting memorandum. E.D.TN. LR 7.1. Without such a memorandum, the

 motion will not be considered by the Court. If either party desires a Daubert hearing

 regarding expert testimony, that party shall notify the Court by Tuesday, March 20, 2018.




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        1.     Plea Bargaining shall be concluded by Tuesday, April 3, 2018, and any

 written agreement shall be executed by said date.

        2,     All requests for jury instructions shall be submitted no later than Monday,

 April 9, 2018.     A copy of the prepared jury instructions should be sent as an

 electronic mail attachment in WordPerfect format to mattice_chambers@tned.uscourts.

 gov.

        3.     A final pretrial conference shall be held before the United States District

 Judge at 3:00 p.m. on Monday, April 9, 2018 in Chattanooga, Tennessee. Prior to the

 pretrial conference, the parties shall familiarize themselves with the Rules regarding the

 Jury Evidence Recording System (JERS) available at www.tned.uscourts.gov/jers.php.

 The parties shall disclose to one another and to the Court the technology they intend to

 use in the courtroom during the trial and how they intend to use it (e.g., display equipment,

 data storage, retrieval, or presentation devices).       This disclosure shall list (1) the

 equipment the parties intend to bring into the courtroom to use and (2) the equipment

 supplied by the Court the parties intend to use. Further, the parties shall disclose to one

 another the content of their electronic or digital materials by the time of the final pretrial

 conference, and shall confirm the compatibility/viability of their planned use of technology

 with the Court’s equipment by the final pretrial conference. General information regarding

 equipment supplied by the Court is available on the Eastern District of Tennessee website

 (www.tned.uscourts.gov). Specific questions about Court-supplied equipment should be

 directed to the courtroom deputy (directory available on website).

        4.     The trial of this case will be held before the United States District Judge and

 a twelve-person jury beginning on Tuesday, April 17, 2018 in Chattanooga, Tennessee.



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 Counsel shall be prepared to commence trial at 9:00 a.m. on the date which has been

 assigned. If this case is not heard immediately, it will be held in line until the following

 day or any time during the week of the scheduled trial date.

               SO ORDERED this 2nd day of January, 2018.



                                                      /s/ Harry S. Mattice, Jr._______
                                                      HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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